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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

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                              :
JANE DOE                      :         Civil No. 3:15CV01123(AVC)
                              :
v.                            :
                              :
HICKS, et al.                 :         October 31, 2016
                              :
------------------------------x

         RULING ON MOTION FOR RECONSIDERATION [Doc. #130]

     Pending before the Court is a motion [Doc. #130] by defendant

Sahil, Inc. (“defendant Sahil”) seeking reconsideration of this

Court’s Ruling on Amended Motion for Sanctions [Doc. #129].

Plaintiff Jane Doe (“plaintiff”) has filed a Memorandum of Law in

Opposition to Defendants’ Motion for Reconsideration. [Doc. #132].

For the reasons set forth herein, the Court DENIES defendant’s

Motion for Reconsideration. [Doc. #130].

I.   Background

     The Court presumes familiarity with the background of this

matter, which is recited in the Court’s Ruling on Amended Motion

for Sanctions. See Doc. #129. For purposes of this Ruling,

however, the Court will briefly address the background leading to

the present motion for reconsideration.

     Following several conferences with the Court, on February 12,

2016, plaintiff filed an Amended Motion for Sanctions against

defendant Sahil. [Doc. #95]. Defendant Sahil filed an untimely

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response to the Amended Motion for Sanctions, which the Court

ordered stricken. [Doc. #102]. Nevertheless, the Court considered

defendant Sahil’s previously filed memoranda in opposition to

plaintiff’s original motion for sanctions, which are docket

entries 76 and 88. See Doc. #102 at 5. In the Amended Motion for

Sanctions, plaintiff alleged a number of discovery abuses by

defendant Sahil, but sought the imposition of sanctions for only

two specific violations of Rule 26: (1) the failure to identify

Mr. Moody in the initial disclosures as an individual with

discoverable information; and (2) the failure to timely disclose

Hicks’ personnel file. See Doc. #95-1 at 14.

      After considering the parties’ arguments, and applying the

relevant standards, the Court found that sanctions under Rule 37

were warranted for: (1) defendant Sahil’s failure to identify its

former employee, Mr. Moody, as an individual with discoverable

information in its initial disclosures; and (2) the untimely

disclosure of defendant Hicks’ personnel file. See Doc. #129 at

21, 25. Defendant Sahil now seeks reconsideration of these

findings.

II.   Legal Standard

      “The standard for granting [a motion for reconsideration] is

strict, and reconsideration will generally be denied unless the

moving party can point to controlling decisions or data that the



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court overlooked — matters, in other words, that might reasonably

be expected to alter the conclusion reached by the court.” Shrader

v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995). Three

grounds can justify reconsideration: “an intervening change of

controlling law, the availability of new evidence, or the need to

correct a clear error or prevent manifest injustice.” Virgin Atl.

Airways, Ltd. v. Nat’l Mediation Bd., 956 F.2d 1245, 1255 (2d Cir.

1992) (quoting 18 C. Wright, A. Miller & E. Cooper, Federal

Practice & Procedure §4478 at 90). “A motion for reconsideration

may not be used to plug gaps in an original argument or to argue

in the alternative once a decision has been made. ... It is also

not appropriate to use a motion to reconsider solely to re-

litigate an issue already decided.” SPGGC, Inc. v. Blumenthal, 408

F. Supp. 2d 87, 91-92 (D. Conn. 2006) (citing Lopez v. Smiley, 375

F.Supp.2d 19, 21–22 (D. Conn. 2005)) (internal citation and

quotation marks omitted), aff’d in part, vacated in part, remanded

sub nom. SPGGC, LLC v. Blumenthal, 505 F.3d 183 (2d Cir. 2007).

III. Discussion

     Defendant Sahil timely filed the motion for reconsideration

now at issue, and contends that the Court overlooked the following

matters in its original Ruling: (1) that Mr. Moody was timely

“disclosed through discovery compliance upon awareness of his role

and relevance”; (2) “Hicks’ personnel file was disclosed when it



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came to the attention of counsel, and when defendant became aware

of the documents that were responsive to the request;” and (3)

plaintiff’s counsel’s failure to confer with defense counsel to

resolve their discovery concerns prevented the parties from

“having a low cost resolution” and “unnecessarily caused costs to

be incurred for the motion for sanctions.” Doc. #130 at 1.

     Had defendant Sahil included in its motion the standard for

granting a motion for reconsideration, defendant Sahil would have

been forced to acknowledge that the standard is strict, see

Shrader, 70 F.3d at 257, and that a motion to reconsider is not

appropriate to “re-litigate an issue already decided.” SPGGC, 408

F. Supp. 2d at 91-92. Defendant Sahil’s motion does not raise an

intervening change of controlling law, the availability of new

evidence, or the need to correct a clear error or prevent manifest

injustice. Rather, the motion simply reiterates, largely verbatim,

the arguments raised in its original opposition. Compare Doc. #88,

with Doc. #130. As Judge Meyer aptly stated:

     The fact that counsel feels upset or disappointed with
     a judge’s ruling is not grounds for a motion to
     reconsider. Nor should counsel file a motion for
     reconsideration on the assumption that a judge did not
     bother to read or understand counsel’s prior pleading —
     or on the assumption that a masterful cut-and-paste of
     prior points posited will elicit an epiphany from a hard-
     headed jurist who was unwilling or unable to comprehend
     “the truth” when presented by counsel in its first
     incarnation. Needless to say, clients are less than




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      well-served by counsel who file groundless motions in
      ignorance of controlling standards of law.

Mercedes Zee Corp., LLC v. Seneca Ins. Co., Inc., Civ. No.

14CV119(JAM), slip. op. at 2 (D. Conn. Sept. 16, 2016). Here,

defendant Sahil attempts to re-litigate the same issues already

decided by reasserting its contentions through a largely cut and

pasted brief. “Beyond this needless exercise in redundancy, the

motion for reconsideration does not cite or acknowledge the legal

standard that governs a motion for reconsideration. [Defendant

Sahil] has ignored governing law and done nothing to satisfy it.”

Id. Accordingly, the Motion for Reconsideration [Doc. #130] is

DENIED.1

IV.   Conclusion

      Thus, for the reasons articulated above, the Court DENIES

defendant Sahil’s Motion for Reconsideration. [Doc. #130].

      This is not a Recommended Ruling. This is an order regarding

discovery which is reviewable pursuant to the “clearly erroneous”

statutory standard of review. See 28 U.S.C. §636(b)(1)(A); Fed. R.




1 Additionally, the Court disagrees with defendant Sahil’s
contention that the Court overlooked the three matters outlined at
the beginning of this discussion. To the contrary, the Court
explicitly acknowledged these points in its Ruling on the Amended
Motion for Sanctions. See Doc. #129 at 8-9, 13, 19-20, 22, 29.
Indeed, defendant Sahil’s Motion for Reconsideration turns a blind
eye to the explicit bases upon which sanctions were awarded.


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Civ. P. 72(a); and D. Conn. L. Civ. R. 72.2. As such, it is an

order of the Court unless reversed or modified by the District

Judge upon motion timely made.

     SO ORDERED at New Haven, Connecticut this 31st day of November

2016.

                                         /s/
                                    HON. SARAH A. L. MERRIAM
                                    UNITED STATES MAGISTRATE JUDGE




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